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 1                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF CONNECTICUT
 2

 3
     TIMOTHY TRACEY,                                 )
 4
              Plaintiff                              )
                                                     )
 5           v.                                      ) Case No.:
                                                     )
 6   CREDIT ACCEPTANCE                               ) COMPLAINT AND DEMAND FOR
     CORPORATION,                                    ) JURY TRIAL
 7            Defendant                              )
                                                     )
 8

 9
                                               COMPLAINT
10
             TIMOTHY TRACEY (“Plaintiff”), by and through his attorney, ANGELA K.
11
     TROCCOLI, ESQUIRE and Kimmel & Silverman, PC., alleges the following against CREDIT
12
     ACCEPTANCE CORPORATION (“Defendant”):
13
                                             INTRODUCTION
14
             1.      Plaintiff’s Complaint is based on the Telephone Consumer Protection Act
15
     (“TCPA”).
16

17                                    JURISDICTION AND VENUE

18           2.      Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331. See Mims v.

19   Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d 881 (2012).

20           3.      Defendant conducts business in the State of Connecticut and as such, personal
21   jurisdiction is established.
22
             4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
23
                                                  PARTIES
24
             5.      Plaintiff is a natural person residing in Taftville, Connecticut 06380.
25
             6.      Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).

                                                       1

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 1          7.      Defendant is a lender with its principal place of business located at 25505 West
 2   Twelve Mile Road, Southfield, Michigan 48034.
 3
            8.      Defendant is a “person” as that term is defined by 47 U.S.C. §153(39).
 4
            9.      Defendant acted through its agents, employees, officers, members, directors,
 5
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
 6
                                       FACTUAL ALLEGATIONS
 7
            10.     Plaintiff has a cellular telephone number that he has had for more than one year.
 8
            11.     Plaintiff has only used this number as a cellular telephone number.
 9
            12.     The phone number has been assigned to a cellular telephone service for which
10

11   Plaintiff incurs a charge for incoming calls.

12          13.     Beginning in the summer of 2014, and continuing through January 2015,

13   Defendant called Plaintiff on his cellular telephone on a repetitive and continuous basis.

14          14.     During the relevant period, Defendant called Plaintiff on his cellular telephone
15   multiple times a week.
16
            15.     When contacting Plaintiff on his cellular telephone, Defendant used an automatic
17
     telephone dialing system or automatic or pre-recorded messages.
18
            16.     Defendant’s telephone calls were not made for “emergency purposes.”
19
            17.     Plaintiff does not have an account with Defendant.
20
            18.     Plaintiff never provided consent for Defendant to call his cellular telephone.
21
            19.     Defendant was calling Plaintiff’s cellular telephone in an attempt to speak with his
22

23
     deceased mother, as she had an account with Defendant.

24          20.     In an effort to stop the calls to his cellular telephone, Plaintiff spoke with

25   Defendant and told them to stop calling his cellular telephone.


                                                       2

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 1          21.       By telling Defendant to stop calling him on his cellular telephone, Plaintiff
 2   revoked any consent previously given to Defendant to place telephone calls to his cellular
 3
     telephone number.
 4
            22.       Defendant heard and acknowledged Plaintiff’s revocation of consent and demand
 5
     to stop calling his cellular telephone number.
 6
            23.       Despite having revoked consent to call his cellular telephone, Defendant
 7
     persisted in calling Plaintiff on his cellular telephone for several months.
 8
            24.       As a result, Plaintiff retained counsel in order to stop Defendant’s calls to his
 9
     cellular telephone.
10

11          25.       On January 14, 2015, the undersigned sent written correspondence to Defendant

12   advising that Plaintiff was represented by counsel and to cease any and call calls to his cellular

13   telephone. See Exhibit A, the January 14, 2015, Letter to Defendant.

14          26.       Defendant received the cease and desist letter on January 21, 2015. See Exhibit
15   B, the USPS Tracking Confirmation.
16
            27.       Defendant persisted in calling Plaintiff’s cellular telephone, despite having
17
     received written notification to cease calling his cellular telephone.
18
            28.       For example, Defendant contacted Plaintiff on his cellular telephone at the
19
     following dates: February 19, 2015 (twice); April 8, 2015 (twice); and April 13, 2015.
20
                                  DEFENDANT VIOLATED THE
21                          TELEPHONE CONSUMER PROTECTION ACT
22
            29.       Plaintiff incorporates the forgoing paragraphs as though the same were set forth at
23
     length herein.
24
            30.       Defendant initiated multiple automated telephone calls to Plaintiff’s cellular
25
     telephone.

                                                       3

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 1          31.     Defendant initiated these automated calls to Plaintiff using an automatic telephone
 2   dialing system.
 3
            32.     Defendant’s calls to Plaintiff were not made for emergency purposes.
 4
            33.     Defendant did not have Plaintiff’s prior express consent to call his cellular
 5
     telephone.
 6
            34.     Defendant’s calls to Plaintiff, in and after the summer of 2014, were not made
 7
     with Plaintiff’s prior express consent.
 8
            35.     Defendant’s acts as described above were done with malicious, intentional,
 9
     willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the
10

11   purpose of harassing Plaintiff.

12          36.     The acts and/or omissions of Defendant were done unfairly, unlawfully,

13   intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal defense,

14   legal justification or legal excuse.
15          37.     As a result of the above violations of the TCPA, Plaintiff has suffered the losses
16
     and damages as set forth above entitling Plaintiff to an award of statutory, actual and trebles
17
     damages.
18
                                            PRAYER FOR RELIEF
19
             WHEREFORE, Plaintiff, TIMOTHY TRACEY, respectfully prays for a judgment as
20
     follows:
21
                     a.      All actual damages suffered pursuant to 47 U.S.C. § 227(b)(3)(A);
22

23
                     b.      Statutory damages of $500.00 per violative telephone call pursuant to 47

24                           U.S.C. § 227(b)(3)(B);

25



                                                      4

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 1                   c.     Treble damages of $1,500 per violative telephone call pursuant to 47
 2                          U.S.C. §227(b)(3);
 3
                     d.     Injunctive relief pursuant to 47 U.S.C. § 227(b)(3);
 4
                     e.     Any other relief deemed appropriate by this Honorable Court.
 5
                                     DEMAND FOR JURY TRIAL
 6
             PLEASE TAKE NOTICE that Plaintiff, TIMOTHY TRACEY, demands a jury trial in
 7
     this case.
 8

 9
                                                  RESPECTFULLY SUBMITTED,
10

11                                                TIMOTHY TRACEY
                                                  By his Attorney,
12
                                                  /s/ Angela K. Troccoli
13                                                Angela K. Troccoli, Esquire, Id# ct28597
                                                  Kimmel & Silverman, PC
14                                                The New England Office
                                                  136 Main Street, Suite 301
15                                                Danielson, CT 06239
                                                  (860) 866-4380- direct dial
16
                                                  (860) 263-0919- facsimile
17                                                atroccoli@creditlaw.com

18   Dated: June 25, 2015

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                                         PLAINTIFF’S COMPLAINT
